             Case: 2:08-cr-00097-GCS Doc #: 77 Filed: 11/18/09 Page: 1 of 6 PAGEID #: 217
AO 245B (Rev. 06/05) Sheet 1 - Judgment in a Criminal Case



                                   United States District Court
                                  Southern District of Ohio at Columbus

         UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE
                    v.
              RUDY E. TIRADO                                       Case Number:             2:08-CR-97(1)

                                                                   USM Number:              67478-061

                                                                   JOSEPH REED
                                                                   Defendant’s Attorney

THE DEFENDANT:
[U]     pleaded guilty to count(s): 1 of the Indictment .
[]      pleaded nolo contendere to counts(s)         which was accepted by the court.
[]      was found guilty on count(s)       after a plea of not guilty.

        The defendant is adjudicated guilty of these offense(s):

Title & Section                    Nature of Offense                                  Offense Ended           Count
21:846                             Conspiracy to Distribute Over 5 Kilograms          January 2005            One
                                    of Cocaine

       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]      The defendant has been found not guilty on counts(s)             .


[]      Count(s)            (is)(are) dismissed on the motion of the United States.

        IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and the
United States Attorney of material changes in the defendant’s economic circumstances.

                                                                                  November 18, 2009
                                                                             Date of Imposition of Judgment


                                                                                  s/George C. Smith
                                                                              Signature of Judicial Officer


                                                             GEORGE C. SMITH, United States Senior District Judge
                                                                       Name & Title of Judicial Officer


                                                                                   November 18, 2009
                                                                                         Date
             Case: 2:08-cr-00097-GCS Doc #: 77 Filed: 11/18/09 Page: 2 of 6 PAGEID #: 218
AO 245B (Rev. 06/05) Sheet 2 - Imprisonment
CASE NUMBER:              2:08-CR-97(1)                                                                Judgment - Page 2 of 6
DEFENDANT:                RUDY E. TIRADO


                                                IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of 46 months .

Sentence to run consecutive to sentence imposed in 2:08-cr-34 OHSD

[x]     The court makes the following recommendations to the Bureau of Prisons:
        The defendant participate in the Intensive Drug Treatment Program while incarcerated if eligible.


[U]     The defendant is remanded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at      on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
        Prisons:
        [ ] before 2:00 p.m. on          .
        [ ] as notified by the United States Marshal but no sooner than
        [ ] as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:




        Defendant delivered on                                     to


at                                            , with a certified copy of this judgment.



                                                                                          UNITED STATES MARSHAL


                                                                        By
                                                                                            Deputy U.S. Marshal
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AO 245B (Rev. 06/05) Sheet 3 - Supervised Release
CASE NUMBER:               2:08-CR-97(1)                                                                         Judgment - Page 3 of 6
DEFENDANT:                 RUDY E. TIRADO


                                                SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years .

To run concurrently with supervised release imposed in 2:08-cr-34 OHSD.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, as determined by the Court.

[]       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low
         risk of future substance abuse. (Check, if applicable.)
[U]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check,
         if applicable.)
[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
[]       The defendant shall register with the state sex offender registration agency in the state where the defendant resides,
         works, or is a student, as directed by the probation officer. (Check, if applicable.)
[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                               STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
      five days of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
      officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training
      or other acceptable reasons;
6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer
      any controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
      convicted of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
      confiscation of any contraband observed in plain view of the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
      enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
      without the permission of the court; and
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
      defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
      notifications and to confirm the defendant's compliance with such notification requirement.
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AO 245B (Rev. 06/05) Sheet 3 - Supervised Release
CASE NUMBER:              2:08-CR-97(1)                                                           Judgment - Page 4 of 6
DEFENDANT:                RUDY E. TIRADO


                          SPECIAL CONDITIONS OF SUPERVISED RELEASE


     1) The Defendant shall provide the probation office with access to any and all financial records and
        information as requested by the probation officer.

     2) The Defendant shall participate in a program of testing and treatment for alcohol and controlled
        substance abuse, as directed by the U.S. Probation Office, until such time as the Defendant is released
        from the program by the Probation Office.
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AO 245B (Rev. 06/05) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                 2:08-CR-97(1)                                                                           Judgment - Page 5 of 6
DEFENDANT:                   RUDY E. TIRADO


                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                   Assessment                      Fine                  Restitution
     Totals:                                        $ 100.00                        $                        $


[]   The determination of restitution is deferred until . An amended Judgment in a Criminal Case (AO 245C) will
     be entered after such determination.

[U] The defendant must make restitution (including community restitution) to the following payees in the
    amounts listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment
     unless specified otherwise in the priority order of percentage payment column below. However, pursuant to
     18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.

                                                       *Total
Name of Payee                                           Loss               Restitution Ordered     Priority or Percentage

     TOTALS:                                $
[]   Restitution amount ordered pursuant to plea agreement $

[]   The defendant must pay interest on restitution and a fine of more than $2500, unless the restitution or fine
     is paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the
     payment options on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.
     §3612(g).

[U] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     [U]     The interest requirement is waived for the              []   fine    [U] restitution.

     []    The interest requirement for the              []   fine   []   restitution is modified as follows:




 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994 but before April 23, 1996.
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AO 245B (Rev. 06/05) Sheet 6 - Criminal Monetary Penalties
CASE NUMBER:                 2:08-CR-97(1)                                                                          Judgment - Page 6 of 6
DEFENDANT:                   RUDY E. TIRADO

                                                SCHEDULE OF PAYMENTS
     Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as
follows:

A    [U] Lump sum payment of $ $100.00due immediately, balance due

           [ ] not later than or
           [ ] in accordance with             [ ] C,         [ ] D, [ ] E, or   [ ] F below; or

B    [U] Payment to begin immediately (may be combined with                        [] C     [ ] D, or     [] F below); or

C    []    Payment in equal installments of $ over a period of , to commence days after the date of this
           judgment; or

D    []    Payment in equal installments of $ over a period of , to commence days after release from
           imprisonment to a term of supervision; or

E    []    Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release
           from imprisonment. The Court will set the payment plan based on an assessment of the defendant's
           ability to pay at that time; or

F    []    Special instructions regarding the payment of criminal monetary penalties:

     []    If the defendant, while incarcerated, is working in a non-UNICOR or grade 5 UNICOR job, the defendant
           shall pay $25.00 per quarter toward defendant's monetary obligation. If working in a grade 1-4 UNICOR
           job, defendant shall pay 50% of defendant's monthly pay toward defendant's monetary obligation. Any
           change in this schedule shall be made only by order of this Court.

     []    After the defendant is released from imprisonment, and within 30 days of the commencement of the
           term of supervised release, the probation officer shall recommend a revised payment schedule to the
           Court to satisfy any unpaid balance of the monetary penalty. The Court will enter an order establishing a
           schedule of payments.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal penalties, except those payments made through the
Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

[]   Joint and Several       (Defendant and Co-Defendant names and Case Numbers, Total Amount, Joint and Several Amount and
     corresponding payee, if appropriate.):


[]   The defendant shall pay the cost of prosecution.
[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest;
(4) fine principal; (5) fine interest; (6) community restitution; (7) penalties; and (8) costs, including cost of
prosecution and court costs.
